Case 2:21-bk-16674-ER         Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51               Desc
                              Main Document     Page 1 of 13


  1   Gene H. Shioda – SBN 186780
      ghs@slclawoffice.com
  2   Christopher J. Langley – SBN 258851
      chris@slclawoffce.com
  3
      Steven P. Chang – SBN 221783
  4   schang@slclawoffice.com
      SHIODA, LANGLEY & CHANG LLP
  5   1063 E. Las Tunas Dr.
      San Gabriel, CA 91776
  6   Tel: (626)281-1232
      Fax: (626)281-2919
  7
  8   Proposed Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor in Possession
  9
 10                              UNITED STATES BANKRUPTCY COURT

 11                 CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 12
 13    In re                                                  Case No. 2:21-bk-16674-ER

 14                                                           Chapter 11
       JINZHENG GROUP (USA) LLC
 15                                                           APPLICATION OF DEBTOR AND
 16                                                           DEBTOR-IN-POSSESSION TO EMPLOY
                     Debtor and Debtor in Possession.         SHIODA LANGLEY & CHANG LLP AS
 17                                                           GENERAL INSOLVENCY COUNSEL
                                                              [LOCAL RULE 2014-1(b)(2)].
 18
                                                              No hearing required unless objection
 19
                                                              filed) 11 U.S.C. § 327(a); F.R.B.P. 2014;
 20                                                           Local Rule 2014-1)
 21
 22            TO THE HONORABLE ERNEST M. ROBLES, U.S. BANKRUPTCY JUDGE,

 23   OFFICE OF THE U.S. TRUSTEE, AND ALL PARTIES IN INTEREST:

 24            Jinzheng Group (USA) LLC, the chapter 11 debtor and debtor-in -possession (hereafter

 25   “Applicant”), respectfully represents as follows:

 26            1.           Applicant filed for relief under Chapter 11 of the United State Bankruptcy

 27   Code on August 24, 2021

 28


                                                          1
Case 2:21-bk-16674-ER        Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51                  Desc
                             Main Document     Page 2 of 13


  1           2.          Applicant proposes to employ Shioda, Langley & Chang LLP, (hereinafter
  2   “SLC LLP”) to serve as general insolvency counsel to the Debtor, pursuant to 11 U.S.C §327(a).
  3           3.          SLC LLP has experience in chapter 11 matters and Applicant believes that
  4   they are well qualified to represent it as a Debtor and Debtor-in-Possession in the above captioned
  5   proceedings. Christopher J. Langley will be primarily responsible for this matter. Mr. Langley is a
  6   bankruptcy certified specialist and is duly admitted to practice law in all state and federal courts of
  7   the State of California, including in the United States District Court for the Central District of
  8   California and the Ninth Circuit Court of Appeals. The hourly rate for partners in this matter is
  9   $450.00. Associates employed by SLC LLP are billed at $360.00 per hour, and the paralegals’ rate
 10   is $180.00 for services performed on this chapter 11 matter.
 11           4.          The legal services required will be legal advice and guidance with respect to
 12   the powers, duties, rights and obligations of the Applicant as Debtor-in Possession, the
 13   formulation and preparation of a Plan of Reorganization and Disclosure Statement, and to prepare
 14   on behalf of the Applicant all legal documents as may be necessary, and to perform such legal
 15   services as are required in these Chapter 11 proceedings.
 16           5.          To the best of the Applicant's knowledge, SLP LLP is a "disinterested person"
 17   as defined by 11 U.S.C. Section 101(14) and it has no connection with the Applicant's creditors, or
 18   any other party.
 19           6.          SLC LLP is not a pre-petition creditor of the Applicant.
 20           7.          SLC LLP has no connection with the Office of the United States Trustee, the
 21   United States Trustee, nor with any person employed by the Office of the United States Trustee.
 22           8.          SLC LLP has no interest adverse to the Applicant’s Chapter 11 estate, the
 23   employment proposes herein would be to the best interest of the estate.
 24           9.          SLC LLP has agreed to undertake this employment as attorney for the
 25   Applicant if authorized by this Court and to be compensated in accordance with 11 U.S.C. Section
 26   330 and 331, the Local Rules for the Central District of California and the Guidelines of the Office
 27   of the United States Trustee.
 28           10.         SLC LLP has not done any pre-petition work on this case. They were retained


                                                         2
Case 2:21-bk-16674-ER         Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51              Desc
                              Main Document     Page 3 of 13


  1   after the filing of the case to substitute out Donna C. Bullock, the filing attorney. SLC LLP
  2   received total retainer in the amount of $40,000 form LT Global Investment on behalf of Jianqing
  3   Yang, the majority member of the Debtor. None of the payment came from property of the
  4   Chapter 11 estate or other estate assets. The payment was placed in SLC LLP ‘s segregated
  5   Attorney/Client Trust account.
  6           11.         SLC LLP will adhere to the Guidelines of the Office of the United States
  7   Trustee regarding applications for payment of professional fees and expenses and an application
  8   will be file in this Court for compensation in conformity with Bankruptcy Code Section 330 and
  9   (if interim compensation is sought) 11 U..S.C. Section 331, and payment of professional fees and
 10   expenses will be subject to approval of the United States Bankruptcy Court.
 11           12.         This Application is made in compliance with the requirements of Local Rule
 12   2014-1, and is based on the foregoing Application, the Notice of Application filed concurrently
 13   herewith, the Statement of Disinterestedness of Employment of Professional Person under
 14   F.R.B.P. 2014, attached hereto as Exhibit "A," the resumes of the members of the firm are
 15   annexed hereto as Exhibit “B” and the declaration from Max Yang is included hereto.
 16          ANY OBJECTION OR REQUEST FOR HEARING IN CONNECTION WITH
 17   THIS APPLICATION MUST BE FILED AND SERVED NOT MORE THAN FOURTEEN
 18   DAYS (14) AFTER THE SERVICE OF THIS NOTICE AND IF NO OBJECTION OR
 19   REQUEST FOR HEARING IS TIMELY FILED, IT MAY BE DEEMED A WAIVER OF
 20   OPPOSITION TO RELIEF REQUESTED HEREIN.
 21          WHEREFORE, the Applicant prays that this Court authorize the employment of SLC
 22   LLP, as general insolvency counsel for Jinzheng Group (USA) LLC, chapter 11 Debtor and
 23   Debtor-In-Possession.
 24   ///
 25   ///
 26
 27
 28


                                                       3
Case 2:21-bk-16674-ER   Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51   Desc
                        Main Document     Page 4 of 13
Case 2:21-bk-16674-ER   Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51   Desc
                        Main Document     Page 5 of 13
Case 2:21-bk-16674-ER         Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51                      Desc
                              Main Document     Page 6 of 13


  1
  2                                     PROOF OF SERVICE OF DOCUMENT

  3   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 4158 14th Street, Riverside, CA 92501
  4
      A true and correct copy of the foregoing document entitled (specify): APPLICATION OF DEBTOR AND
  5   DEBTOR-IN-POSSESSION TO EMPLOY SHIODA LANGKLEY & CHANG LLP AS GENERAL
      INSOLVENCY COUNSEL [LOCAL RULE 2014-1(b)(2)]. will be served or was served (a) on the
  6   judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

  7   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  8   hyperlink to the document. On (date) December 6, 2021, I checked the CM/ECF docket for this bankruptcy
      case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
  9   List to receive NEF transmission at the email addresses stated below:

 10   • Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
      • Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
 11   • Susan Titus Collins scollins@counsel.lacounty.gov
      • Richard Girgado rgirgado@counsel.lacounty.gov
 12   • M. Jonathan Hayes jhayes@rhmfirm.com,
      roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmf
 13   irm.com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
      • Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
 14   • Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
      • Giovanni Orantes go@gobklaw.com, gorantes@orantes-
      law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.
 15   bestcase.com
      • Matthew D. Resnik matt@rhmfirm.com,
 16   roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rh
      mfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sl
 17   oan@rhmfirm.com
      • Allan D Sarver ADS@asarverlaw.com
 18   • United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
      • Hatty K Yip hatty.yip@usdoj.gov, hatty.k.yip@usdoj.gov
 19
                                                        Service information continued on attached page
 20
      2. SERVED BY UNITED STATES MAIL:
 21   On (date) December 6, 2021, I served the following persons and/or entities at the last known addresses in
      this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
 22   envelope in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge
      here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
 23   document is filed.

 24   Honorable Ernest M. Robles
      Edward R. Roybal Federal Building and Courthouse
 25   255 E. Temple Street, Suite 1560 / Courtroom 1568
      Los Angeles, CA 90012
 26
      Office of the United States Trustee
 27   915 Wilshire Blvd. Ste 1850
      Los Angeles, CA 90017-3409
 28
                                                        Service information continued on attached page


                                                            6
Case 2:21-bk-16674-ER          Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51                      Desc
                               Main Document     Page 7 of 13


  1   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
      (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
  2   (date) December 6, 2021, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
  3   email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
  4

  5                                                       Service information continued on attached page

  6   I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  7     December 6, 2021                  John Martinez                      /s/John Martinez
        Date                      Printed Name                               Signature
  8
  9
 10

 11
 12
 13
 14
 15
 16

 17
 18
 19
 20
 21
 22

 23
 24
 25
 26
 27
 28


                                                             7
Case 2:21-bk-16674-ER          Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51                 Desc
                               Main Document     Page 8 of 13



                                            EXHIBIT A

         DECLARATION OF DISINTERESTEDNESS FOR EMPLOYMENT OF
                 PROFESSIONAL PERSON UNDER F.R.B.P. 2014
             [Drafted to Conform with Court Form L.B.R. FORM 2014-1]

1. Name, address and telephone number of the professional (“the Professional”)
submitting this Statement:
Shioda Langley & Chang LLP
1063 E. Las Tunas Ave.
San Gabriel, CA 91776
626-281-1232

2. The services to be rendered by the Professional in this case are (specify):
The legal services required will be legal advice and guidance with respect to the powers,
duties, rights and obligations of the Applicant as Debtor-in-Possession, the formulation
and preparation of a Plan of Reorganization and Disclosure Statement, and to prepare on
behalf of the Applicant all legal documents as may be necessary, and to perform such
legal services as are required in these Chapter 11 proceedings.

3. The terms and source of the proposed compensation and reimbursement of the
Professional are (specify):
The source of the retainer was payment by the Applicant’s managing member Jianquing Yang.
Post-Petition, compensation shall be made from the Debtor’s bankruptcy estate if allowed by the
Bankruptcy Court, in accordance with accordance with 11 U.S.C. Section 330, the Local Rules
for the Central District of California and the Guidelines of the Office of the United States Trustee
for the Central District of California. The hourly rate for partners at the firm is $500.00. Rates for
associate attorneys will be $450.00, and paralegals employed by Shoida Langley & Chang, LLP
in this matter shall be $125 per hour.

4. The nature and terms of the retainer (i.e., nonrefundable versus an advance against
fees) held by the Professional are (specify):
Shioda Langley & Chang LLP received total a pre-representation retainer of $40,000, which
payment was placed in Shioda Langley & Chang LLP’s segregated Attorney/Client Trust
account.
The Professional will be paid on an hourly basis and will seek court approval of fees and
costs pursuant to 11 U.S.C. §§ 330 and 331. The hourly rate for attorney services is
$500.00. Costs are to be billed according to the U.S. Trustee’s Fee Guide. The retainer is not
from property of the estate and is a guarantee against fees.

5. The investigation of disinterestedness made by the Professional prior to submitting
this Statement consisted of (specify):
The Professional cross-referenced the Debtor’s name against the firm's client data base
and no references to the Debtor appeared. In addition, I reviewed the Debtor’s petition,
schedules, and mailing matrix, and determined that the neither I, nor Shioda Langley & Chang
represents any of the Debtor’s creditors in any matter whether related to the Debtor’s case or not.
Case 2:21-bk-16674-ER        Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51              Desc
                             Main Document     Page 9 of 13




6. The following is a complete description of all of the Professional’s connections with
the debtor, principals of the debtor, insiders, the debtor’s creditors, any other parties in
interest, and their respective attorneys and accountants, or any person employed in the
Office of the United States Trustee (specify):
None.

7. The Professional is not a creditor, an equity security holder or an insider of the
debtor, except as follows (specify):
None.

8. The Professional is not and was not an investment banker for any outstanding
security of the debtor.

9. The Professional has not been within three (3) years before the date of the filing of
the petition herein, an investment banker for a security of the debtor, or an attorney for
such an investment banker in connection with the offer, sale or issuance of any security of
the debtor.

10. The Professional is not and was not, within two (2) years before the date of the filing
of the petition herein, a director, officer or employee of the debtor or of any investment
banker for any security of the debtor.

11. The Professional neither holds nor represents any interest materially adverse to the
interest of the estate or of any class of creditors or equity security holders, by reason of any
direct or indirect relationship to, connection with, or interest in, the debtor or an
investment banker for any security of the debtor, or for any other reason, except as follows
(specify):
None.

12. Name, address, and telephone number of the person signing this Statement on
behalf of the Professional and the relationship of such person to the Professional (specify):
Christopher J. Langley, 1063 E. Las Tunas Dr. San Gabriel, CA 91776; 626-281-1232

13. The Professional is not a relative or employee of the United States Trustee or a
Bankruptcy Judge, except as follows (specify):
None

14. Total number of attached pages of supporting documentation:
Firm resumes are annexed as Exhibit “B".

15. After conducting the investigation described in Paragraph 5 above, I declare under
penalty of perjury under the laws of the United States of America, that the foregoing is true
and correct except that I declare that Paragraphs 6 through 11 are stated on information
and belief.
Case 2:21-bk-16674-ER       Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51   Desc
                            Main Document    Page 10 of 13



Executed on December 3, 2021, Santa Ana, California.
/s/Christopher J. Langley
Christopher J. Langley, Esquire
Case 2:21-bk-16674-ER         Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51                 Desc
                              Main Document    Page 11 of 13



                                           EXHIBIT B

                                        FIRM RESUMES

                                       GENE H. SHIODA

Gene H. Shioda is a seasoned litigator with over 25 years of courtroom experience. Gene is the
head of the firm’s litigation department. He has extensive jury and bench trial experience. His
verdicts range from $4.3 Million dollars to $500,000.00. He has defended cases which have led
to positive results for the clients.

Gene received his law degree at Southwestern Law School where he graduated Summa Cum
Laude. He was editor in Chief of the Law Review. He received his undergraduate degree at Clark
University, Worcester, Massachusetts, 1993 Magna cum Laude



                                CHRISTOPHER J. LANGLEY

Chris is a named partner of Shioda, Langley & Chang LLP, which was founded in 2019. Chris is
a Certified Bankruptcy Law Specialist by the State Bar of California. Chris began working “Of
Counsel” with Simon & Resnik LLP in late 2010 and then Simon Resnik Hayes LLP while he
established his own firm.

Chris is a California native but graduated from Regina Apostolorum Pontifical University
(Rome, Italy) with a Bachelor of Arts degree in Philosophy. Besides extensive international
travels, during his undergraduate studies, Chris also lived in Mexico. He graduated from Loyola
Law School in Los Angeles, California. He gained his first experience with bankruptcy law
while in law school with he worked as a law clerk for a Chapter 7 Trustee and externed for
bankruptcy Judge, Richard M. Neiter.

Chris began his legal career at a creditor’s rights law firm who specialized in representing
vehicle finance companies, mortgage lenders, and commercial creditors in bankruptcy. Chris’s
bankruptcy law experience includes representing consumer and corporate debtors, creditors, and
trustees in both litigation and transactional forums. In addition to his bankruptcy expertise, Chris
has represented clients in the formation of corporate entities, ensuring corporate compliance,
creating estate plans, as well as other general civil litigation matters.

Chris is admitted to practice law before the Northern, Eastern, Central and Southern Federal
District Courts of California and is a member of the State Bar of California and Georgia.
Additionally, Christopher is a member of the Orange County Bar Association and the National
Association of Consumer Bankruptcy Attorneys.



                                      STEVEN P. CHANG
Case 2:21-bk-16674-ER         Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51                Desc
                              Main Document    Page 12 of 13




Steven is a named partner of Shioda Langley & Chang LLP since the foundation of the firm in
2014. Steven has been admitted to the California Bar since 2002 after receiving his Juris Doctor
from Southwestern University School of Law, Los Angeles, California. While there he was a
Staff Member, Southwestern Journal of Law & Trade in the Americas 2000-2001, Vice-
President, Asian Pacific American Law Student Association 2000-2001, Recipient, Paul W.
Wildman Scholarship 1999 – 2002, Recipient, Southern California American Lawyers
Association Scholarship 2001-2002 and the Recipient, CALI Excellence for the Future Award
(Property I) – Fall 1999. He completed his undergraduate studies at California State University,
Los Angeles, California where he received a Bachelor of Arts, Political Science.

Prior to his membership with Shioda Langley & Chang LLP his experience includes operating
the Law Offices of Steven P. Chang, founded in Alhambra, California and later relocated to the
City of Industry, California. He practiced extensively in bankruptcy. And he has filed and
completed over two hundred bankruptcy petitions, including chapter 7, 11 and 13. His
experience included preparing plans of reorganization, petitions, adversary proceedings
(involving preference, 707 issues, and 523 issues), Responses to Motions to Lift Automatic Stay,
Motions to Avoid Judicial liens, Cash Collateral Motions. Prior experience includes clerking
with Yoka & Smith, LLP, Los Angeles, California and Litigation Support Document Analyst
with the Attorney General’s Office, Los Angeles, California



                                       HEIDI M. CHENG

Heidi has been employed as an associate attorney with the Law Offices of Langley and Chang
since its establishment in 2014. Prior to that time, she was employed as an associate attorney
with the Law Offices of Steven P. Chang. Her past experience includes clerking for Los Angeles
District Attorney’s Office, Pasadena, CA where she assisted in a capital murder case with legal
research and writing; Briefed transcripts and depositions; Prepared exhibits for DDA for use in
trial; and Prepared and assisted in jury selection process. She also clerked with the Law Offices
of Jeffrey T. Bell, Rosemead, worked as a Certified Law Clerk, Los Angeles District Attorney’s
Office, West Covina, CA and was Judicial Extern at the California Superior Court Stanley Mosk,
Los Angeles, CA (2008)

Heidi was admitted to the California State Bar as well as the District Court, Central District of
California in 2013. She received her Juris Doctor from Whittier Law School in Costa Mesa
where she was the recipient of Dean’s Merit Scholarship, and CALI Award- International Law
She was a member of Phi Alpha Delta Law Fraternity the Student Bar Association (SBA),
Entertainment & Sports Law Society (ESLS) and Asian Pacific American Law Students
Association (APALSA). She received her Bachelor of the Art in Political Science at University
of California, San Diego, La Jolla, CA where she was a recipient of the Dean’s Honor Roll.


                                      MICHAEL SMITH
Case 2:21-bk-16674-ER         Doc 49 Filed 12/06/21 Entered 12/06/21 11:12:51                  Desc
                              Main Document    Page 13 of 13



Michael manages the Riverside location of Shioda Langley & Chang LLP, as well as the Chapter
13 department of the firm. He has over 10 years of consumer bankruptcy experience and has a
unique knowledge of the practical application of the bankruptcy code as applies in consumer
cases. He has filed hundreds of chapter 7 and chapter 13 cases.
Michael obtained his Juris Doctor from Loyola Law School in Los Angeles and was admitted to
the bar in 2008.


OF COUNSEL:
                                       DAVID SHEVITZ
Mr. Shevitz is an experienced bankruptcy attorney. He is certified as a bankruptcy specialist by
the State Bar of California, Board of Legal Specialization.

His practice focuses on business reorganizations, individual debtor representation, and creditor
representation in bankruptcy proceedings and related business litigation matters.

Between 2011 and 2015, David was an attorney at a boutique bankruptcy firm where he
represented individuals and businesses in Chapters 7, 11 and 13 as well related business
litigation matters.

During law school, David served as a legal intern for the Honorable Sheri Bluebond, US
Bankruptcy Court for the Central District of California and served as an intern for the Office of
the United States Trustee’s Santa Ana Division.

Mr. Shevitz has also served as staff writer and research editor of the Loyola of Los Angeles
Entertainment Law Review.

Mr. Shevitz is a board member of the James T. King Bankruptcy Inn of Court and the Central
District Consumer Bankruptcy Attorney Association (CDCBAA).
